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      Exhibit A
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

PROTECTIVE LIFE INSURANCE
COMPANY,

                           Plaintiff,
                                               C.A. No. 20-cv-2101
              v.

 WELLS FARGO BANK, N.A., as
 securities intermediary,

                           Defendant.

                                   COMPLAINT

      Plaintiff, Protective Life Insurance Company (“Protective Life”), files and

asserts its Complaint against Defendant, Wells Fargo Bank, N.A., (“Wells Fargo”),

as securities intermediary, and in support thereof, alleges as follows:

                                        PARTIES

      1.     Protective Life is a life insurance company organized and existing

under the laws of Tennessee, with its principal place of business at 2801 US-280,

Birmingham, AL 35223. Protective Life is a citizen of the states of Alabama and

Tennessee.

      2.     Upon information and belief, Wells Fargo is a national banking

association with its principal place of business in Sioux Falls, South Dakota. Wells

Fargo is being named solely in its capacity as securities intermediary.
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                         JURISDICTION AND VENUE
      3.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1332

because there is complete diversity of citizenship between Protective Life, a citizen

of Tennessee and Alabama, and Wells Fargo, a citizen of South Dakota, and because

the amount in controversy exceeds $75,000.

      4.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(1)

because the defendant, for venue purposes, resides in the District of Columbia.

                     FACTS COMMON TO ALL CLAIMS
A.    The Application for and Issuance of a $2 Million Life Insurance Policy
      5.     As early as April 2005, Empire General Life Assurance Corporation

(“Empire Life”) began receiving inquiries regarding a potential $2 million life

insurance policy on the life of Nelson Deckelbaum.

      6.     On or about September 8, 2005, Empire Life received an “Application

for Life Insurance” (the “Application”) seeking to insure the life of Mr. Deckelbaum.

A copy of the Application is attached as Exhibit A.

      7.     The Application sought a $5 million life insurance policy, naming The

Nelson Deckelbaum 2005 Insurance Trust dated September 6, 2005 (the “Trust”) as

the “owner” and “beneficiary.” Id. at 1.

      8.     The Application disclosed Mr. Deckelbaum’s place of residence as

Washington, D.C. Id.



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       9.      The Application identified the Trust as having a physical address at

1100 N. Market Street, Wilmington, DE 19890, and acting at the direction of a

Delaware trustee, Wilmington Trust Company, also physically located in Delaware.

Id. at 1, 4.

       10.     The Application represented that the Policy’s purpose was for Mr.

Deckelbaum’s “Estate Planning.” Id. at 6.

       11.     The Application was signed on September 6, 2005 in Wilmington,

Delaware by Michele C. Harra, an officer of Wilmington Trust Company, as trustee

of the Trust (the prospective owner); by the insured, Mr. Deckelbaum; and by two

insurance brokers, Alan Meltzer and Margaret Lyon. Id. at 6.

       12.     The Application declared that the statements and answers in the

Application were full, complete, and true to the best of the signatories’ knowledge

and belief. Id. at 4.

       13.     Thus, in completing the Application, the signatories knew that they

were required to provide truthful, accurate, and full responses to the questions

presented. Furthermore, they knew that Empire Life would rely upon the statements

recorded on the Application in determining whether to issue a policy with the face

amount requested, or whether to issue a policy at all.

       14.     Soon thereafter, the application was amended seeking a face amount of

$2 million. A copy of the Amendment is attached as Exhibit B.


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      15.     In reliance upon the representations contained in the Application and

other documents and information submitted to Empire Life in connection with the

Application, Empire Life issued a policy with a $2 million death benefit (policy

number E00478564) (the “Policy”) with an issue date of September 26, 2005.

      16.     In January 2007, Empire Life merged into Protective Life. Under the

merger, Protective Life assumed Empire Life’s insurance policies.

      17.     On November 30, 2007, Protective Life received and processed an

ownership and beneficiary change request to change the owner and beneficiary of

the Policy to an entity known as CSSEL Bare Trust with Wells Fargo Delaware Trust

Company as trustee.

      18.     On or about February 12, 2008, Protective Life received and processed

another ownership and beneficiary change request to change the owner and

beneficiary of the Policy to an entity known as Life Settlement Funds Limited Trust

with Bank of New York as trustee.

      19.     On or about April 5, 2011, Protective Life received and processed

another ownership and beneficiary change request to change the owner and

beneficiary of the Policy to Wells Fargo Bank, N.A., as securities intermediary.

Wells Fargo is the record current owner and beneficiary of the Policy on behalf of

the Policy’s beneficial owner, whose identity is unknown to Protective Life.




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      20.     Upon information and belief, Mr. Deckelbaum passed away on

December 27, 2019, and Wells Fargo subsequently submitted a claim for the Policy’s

death benefit on behalf of its unidentified investor principal.

B.    The Policy was Procured as Part of an Illegal Wagering Scheme to
      Gamble on the Life of Mr. Deckelbaum

      21.     Following receipt of notice of Mr. Deckelbaum’s death, Protective Life

commenced a review of the Policy and has determined, on information and belief,

that the Policy was at all times material hereto meant as an illegal wager on the life

of Mr. Deckelbaum. Protective Life has further determined, on information and

belief, that the Policy lacked an insurable interest prior to and at its inception and

that any appearance of insurable interest was superficial only and was in reality a

complete and total sham designed to conceal the true wagering nature of the

purported Policy.

      22.     Protective Life has further determined, upon information and belief,

that the Trust itself was an illegal sham created to give the false appearance of a valid

insurance trust established for valid “Estate Planning,” and thus to give the

superficial—but entirely false—appearance of a legitimate insurable interest.

      23.     Moreover, upon information and belief, the funds used to pay the

premiums on the Policy were provided—not by Mr. Decklebaum or his family—but

rather by a third party investor known as Coventry, a stranger originated life

insurance (“STOLI”) funder that used insureds during the relevant time periods as

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instrumentalities to create multi-million dollar life insurance policies—not for the

benefit of the insureds or their families—but rather for the benefit of investors. Upon

information and belief, Coventry or a Coventry-related entity and/or other persons

or entities who lacked an insurable interest in Mr. Deckelbaum’s life and were

participating in a wager on his life and sought to profit from his death.        Upon

information and belief, persons who coordinated and associated with Coventry in

procuring the Policy include Ms. Lyon, one of the soliciting agents who signed the

Application, and her firm CBI Financial.

      24.     Upon information and belief, to disguise the true wagering nature of the

Policy, the stranger entities, acting together to generate the Policy, knowingly and

intentionally misrepresented material information and affirmatively concealed

material information from Protective Life so as to intentionally mislead and induce

Protective Life into issuing a policy that it otherwise would have rejected. Upon

information and belief, and among other things, this included:

   a. Falsely representing that the Trust was established for a legitimate purpose.

      Instead, upon information and belief, the Trust was established solely for the

      purpose of making an illegal wager on the life of Mr. Deckelbaum in violation

      of applicable Delaware law. The Trust furthered this unlawful scheme by (1)

      giving the appearance of a valid Delaware statutory trust and (2) acting as the

      owner and beneficiary of the Policy so as to conceal that the real owner in


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   interest, the real beneficiary in interest, and the real payor of premiums was a

   stranger to Mr. Deckelbaum. In reality, the Trust was a sham, and the stranger

   entities acting together to generate the Policy concealed the truth from

   Protective Life.

b. Upon information and belief, the premiums were paid by Coventry and its

   associates pursuant to the terms of a non-recourse premium financing

   agreement. Upon information and belief, at no point did the Trust or Mr.

   Deckelbaum provide any of the ultimate funding for the premium payments,

   and this fact was intentionally withheld from Protective Life.

c. Falsely declaring in the Application that the Policy would be used for Mr.

   Deckelbaum’s “Estate Planning.” In fact, the Policy was never meant to serve

   as “Estate Planning” for Mr. Deckelbaum but was always intended to benefit

   stranger-investors who sought to use the Policy as an instrumentality to

   illegally wager on Mr. Deckelbaum’s life.

d. Falsely declaring in the Application that the “statements and answers made in

   all parts of this application [were] full, complete, and true to the best of my

   (our) knowledge and belief.” Instead, the stranger entities acting together to

   generate the Policy knew and intended for their statements, answers, and

   representations to be false and misleading, and otherwise concealed the truth

   from Protective Life.


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      25.     Upon information and belief, as part of the illegal wagering scheme, the

stranger entities acting together to generate the Policy misrepresented and otherwise

concealed from Protective Life that, from the outset, the Policy was intended to be

transferred to a different owner with no insurable interest in the insured.

      26.     The identity of the true owner and beneficiary of the Policy was,

therefore, continually concealed from Protective Life.

                           FIRST CAUSE OF ACTION

 DECLARATORY JUDGMENT – ILLEGAL HUMAN LIFE WAGERING
                    CONTRACT

(AGAINST DEFENDANT WELLS FARGO BANK, N.A., AS SECURITIES
                    INTERMEDIARY)

      27.     Protective Life hereby incorporates by reference each and every

allegation contained in the preceding paragraphs as if set forth herein at length.

      28.     The Policy was applied for and signed in Delaware by a Delaware

statutory trust, as owner and beneficiary of the Policy. The Policy was issued for

delivery to that Delaware statotury Trust, as owner, care of its Delaware corporate

trustees at their address in Wilmngton, Delaware. The Policy was then delivered to

the trustee of the Trust, Wilmington Trust Company, a Delaware company with

offices in Wilmington, Delaware who formally accepted the Policy at its offices in

Wilmington, Delaware. The Policy is governed by Delaware law.




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      29.    The Delaware Constitution provides that “[a]ll forms of gambling are

prohibited in this State except [those explicitly set forth in the statute].” Del. Const.

Art. II, § 17. Moreover, the Delaware Supreme Court has addressed the issues

associated with life insurance policies used to wager on the death of insureds and

has held that, under Delaware law, such policies are mere wagering contracts and

are void ab initio. PHL Variable Ins. Co. v. Price Dawe 2006 Ins. Trust, 28 A.3d

1059 (Del. 2011).

      30.    As set forth herein, the Policy was, from the outset, procured by third

parties and intended as a wager on the life of Mr. Deckelbaum. Whether Mr.

Deckelbaum knew the details of this scheme or his identity was merely used as an

instrumentality to procure the Policy, stranger investors were wagering on Mr.

Deckelbaum’s life and hoping to trigger a secondary market cash-in on the Policy’s

$2 million death benefit.

      31.    Accordingly, Protective Life seeks, and is entitled to, a declaratory

judgment that the Policy was an illegal wagering contract that violated the Delaware

Constitution and the public policy of Delaware, thus rendering the Policy void ab

initio, meaning that the Policy never came into existence.




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                          SECOND CAUSE OF ACTION

   DECLARATORY JUDGMENT – LACK OF INSURABLE INTEREST

(AGAINST DEFENDANT WELLS FARGO BANK, N.A., AS SECURITIES
                    INTERMEDIARY)

      32.     Protective Life hereby incorporates by reference each and every

allegation contained in the preceding paragraphs as if set forth herein at length.

      33.     The Policy was intentionally structured to be a “trust-owned insurance

policy” as defined by Delaware’s insurable interest statute, 18 Del. C. § 2704(e)(4).

Because the Policy was delivered to the place of business of the trustee of the Trust,

Wilmington Trust Company, at its offices in Wilmington, Delaware, the existence of

an insurable interest “shall be governed by [Delaware’s insurable interest statute]

without regard to [the] insured’s state of residency or location.” 18 Del. C. §

2704(g).

      34.     Under Delaware law, a valid and legitimate insurance trust can have a

valid insurable interest in the life of the insured. See Del. C. § 2704(c)(5).

      35.     However, because the Trust was an illegitimate cover for the wager on

Mr. Deckelbaum’s life, the Trust lacked any insurable interest in the life of Mr.

Deckelbaum. Accordingly, no insurable interest existed at the time of issuance of

the Policy, and the Policy is void ab initio for lack of insurable interest.

      36.     Additionally, the Policy was applied for and issued at the behest of

individuals or entities—with no insurable interest in the life of the insured—who
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procured the Policy for the purpose of benefitting stranger investors in the life

insurance secondary market. Accordingly, the Policy is void ab initio for lack of an

insurable interest.

      37.     Therefore, Protective Life seeks, and is entitled to, a declaratory

judgment that the Policy lacked insurable interest because it was procured by and

for the benefit of strangers without any insurable interest under Delaware law.

      38.     WHEREFORE, Protective Life respectfully requests the entry of an

Order by this Court as follows:

      A.      Declaring that the Policy is void ab initio due to it having been

procured as a wagering contract on the life of Mr. Deckelbaum;

      B.      Declaring that the Policy is void ab initio due to it having been

procured without a valid insurable interest at inception;

      C.      Declaring that because the Policy is void ab initio it never existed and

Protective Life need not pay the death benefit;

      D.      Declaring that because the Policy is void ab initio the Court will leave

the parties to this illegal contract as it finds them, thus permitting Protective Life to

retain the premiums paid on the Policy, or, in the alternative, declaring that

Protective Life may retain some of all of the premiums paid on the Policy to

effectuate an offset with respect to Protective Life’s costs and losses associated

with the Policy;


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      E.       Awarding Protective Life attorneys’ fees and costs associated with

bringing this lawsuit, as determined by the Court; and

      F.       Awarding Protective Life any further relief this Court deems

appropriate.


      Dated: July 31, 2019              Respectfully submitted,


                                        /s/ Chad E. Kurtz
                                        COZEN O'CONNOR
                                        Chad E. Kurtz (ID No. 1016934)
                                        1200 19th Street, NW
                                        3rd Floor
                                        Washington, D.C. 20036

                                        Michael J. Miller (pro hac vice to be filed)
                                        Joseph Kelleher (pro hac vice to be filed)
                                        Chase A. Howard (pro hac vice to be filed)
                                        1650 Market St., Suite 2800
                                        Philadelphia, PA 19103
                                        Tel. (215) 665-2147

                                        Attorneys for Plaintiff,
                                        Protective Life Insurance Company




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           i.
                .
                                                                        APPLICATION FOR LIFE INSURANCE - PART I




                                                                      Birth Date     State ol Birth   ~x     Social Securily No

  Oet:upalion                                                            Oriv$1's Ucense No & Slalo           Home Phone No              Wolk Phone No

  Home Add1ess (Street Address-City, Slate. Zlp)

  Employe(s Name                                                               Employe(s Atldress                                            Years Employed

  3.     OWNER INFORMATION Com lete if different from Pro osed Insured
         D Applicant (Owner) if other than Proposed Insured 1 (Owner must sign Page 41,.J)d
         D Pa or if other than Owner - furnish inlormalion in Remarl!s on Pa e 4     • ,,.,




  4. BENEFICIARY DESIGNATION Hmultiple beneficiaries named, shares will be divided equaHy among the surviving beneficiaries, unless othet"Nise specified.
     Primary                                Relationship            Contingent                                                   Relationship
TWL Nu ~ n i)ec.tOJ 1:,a.u.m u;cx;-
       ,urMct2. Tf"l.( sf
 5. COVERAGE INFORMATION
                                                    Amount                            D Select Preferred         ,Rl Nonsmoker      D Smoker

                                                   •
                                                         0011    oot>
                                                      Increase Option _ __
                                                                                      D Preferred                • Tobacco          0 Other
                                                    0 Other                           •   Issue Special Class:
         D Children's Term Rider _ _ _ _        Units (complete #7 next page) D Accidental Death Benefit$_ _ _ _ _ _ __
        D Family Plan Rider                     Units (complete 117 next page) 0 Waiver ol Premium
        0 Monthly Disability Rider amount to be credited to policy$_ _ __                • Protected lnsurability Rider$_ _ _ _ __
        0 Covered Insured Rider {CJR} $                · (#B next page)                  0 Other Rider
        Guaranteed lnsurabilily Rider(s}: VO = Variable Option SC "'Survivor's Choice
        Amount(s) (VO or SC}               Option Date(s.) (VO)             Designated Ltte(s) (SC)                           Relationship (SC)




 6. BILLING INSTRUCTIONS
       Premium: Jg Annual D Semi-annual D Quarterly D Monthly PAC D Other _____ List BIii # _ _ _ __
       Cash with App. $ _ _ _ Mode Premium$              ~'13,lf / ~ Initial Premium$ .:l:!13,181          Automatic Prem Loan? (ii available) D Yes
       Advance Prem. Account of$ _ _ _ _ _ _ _ _ _ _ for# of Years _ _ _ _ Lump Sum/Pour In$ _ __
       Premium has D has not~ been provided with this application .......,~,,.._- (must be answered and Initialed by applicanl/owner)
                                                                      (lnttlal)
       See page 10 if CWA is being co/lecled

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   7. Family Members to be covered:                                                                                                                      --
                                                                                                                                        Aelationshlp lo Proposed lnsutad
                                                                                                                                                                                  ~




    Name                                                                          Sex             Dale or Bil1h                                                                           Stale of Birlh Height    Weight




   8. Proposed Insured Under CIR                                                                 Beneficiary                                                                                   Relationship
                                                                                             I
   U lll\lllipln beneficiaries named, sharos will be divided equally among llli! s1.11viving beneficiaries, unless olheiwi$e speclflod.

     9. Life insurance In force: None 0                                                                           Policy                    Replace or      Personal   Business      Year
                         Person                                       Company                                    Number                     Change? ..,coverage Amt. Coverage Amt. Issued
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  Regarding All Persons Proposed for Insurance: (II any "yes•, explain and give name of
  every company_ Use Remarks section if additional space is needed.)                                                                                                         Prop lns.1 Prop lllS.2 Dependents
  (a) Is the Policy applied for to replace or change any existing insurance or annuities in this or any                                                                      Ves No Yes No Yes No
      other Company? Indicate in above chart .. . .. . _ ., . .. .. ... ·- . . .. . . . _ . . . . .. .. _                                                       . •·          D .SJ           D         D    D       0
      (If 'yes', check which polic(i and complete comparison statement. If required.)
  (b) Has any person proposed or Insurance an appijcaUon ~ending ln another company? ... •..
      (If "yes', give Person, Company and Amount in #14 be w)
                                                                                                                                                                              •       ~       • •            D       •
  (c) Has any person proposed for insurance ever been rated up, declined or postponed for life or
      health insurance coverage? (details In #14 below) (If yes, do nm submit CWA) ... ._ . . ..                                                                ..            •       ~       D      D       D       D
  (d) Annual Income $
      Ne\Wonh$
  10.      Within the last 5 years, has anyone proposed for insurance used any form of tobacco or a nicotine substitute (patch, etc..)?
              D YES (lndicale usage below) If discontinued, date discontinued                            ,2'I NO
                                                                                            Olher Tobacco Used wilhin  Used within Usedwilhin Quantity Frequency used
  Name                                                   CigareUes        Cigars               (Identify) 60mos (YIN) 36 mos (YIN) 12 mos. (YIN) Used  (day/ monlh / year)
                                                     I               I                  I                            I                       I                           I            I             I
                                                     I               I                  I                            I                       I                           I            I             I
  11, Wilhin the last 24 months has any Person Proposed for Insurance:                                                                                                       Prop.1115 1 Prop. Ins. 2 Dependents
                                                                                                                                                                             Yes No Yes No Yes No
        (a)
          Flown as a pilol, student pilot or crew member? (Complete questionnaire on page 8) .
          Are any such flights planned in the future? (Complete questionnaire on page 8). . .. .._ .....
        (b}
                                                                                                                       D rill D
                                                                                                                       D ~ D D D D
                                                                                                                                         D D             ,, 0        M



                                                                                                                                                                                                    •
        (c)
          Engaged in racing or scuba diving? (Complete questionnaire on page B) .......           ...
          Engaged in O hang gliding D mountain climbing                                     •
                                                                                                ,           . ...      D ® D 0               D                                                               •
        (d)                                                      sky diving or other hazardous sport? , , ...
                                                                 (Complete Section 14)
                                                                                                                          l!fJ    D D D                                      •                •
  12. Has any Person Proposed for Insurance: (If any "yes•, give full details in Section 14)
      (a) Had any motor vehicle accidents, OUls, DW!s, speeding Uckets, or other traffic Violations ln the Prop . Ins. 1 Prop. lri!i. 2 D~ndenls
                                                                                                                      Yes No Yes No Yes No
          past 7 years 1        .. ... . ..         ...              ...           . -    ._, .          .,,,
                                                 ~




                                                                                                                       D ~ D D D 0
      (b) Been convicted of a felony in the past 10 years?. .         .'     ..       ...             ,,  .       ...  D ~ D 0           D D
 13. Is any Person Proposed lor Insurance: (If any "Yes; give lull details In Section 14)                         Prop. Ins . 1                                                             Prop lllS 2 Deperidents
     (a) D a non U S. citizen' or D resides more than 6 months a year oulsld e of the U S                         Yes No                                                                    Yes     No      Yes     No
         or Canada .... , .. •• . .,. .. . . ..... . _ ._,,             ..        ,, ,, ... , ... .. ,., .. -,. D                                                                                                   •D
                                                                  •H••O   •••••   , •




     (c) Traveledoulside the U.S. or Canada within the pastJyearsorinlendtodosowithinlhenext 12 months? -·
              • Copy al Pennaoenl VISA JGreen Cardi is reQi.irod for al Foreign Nationals.
                                                                                                               ,p,


     (b) Not a permanenttesident of the u. s. or Canada? .. . . . .,. . . . •. . . . . . . ... .. .. ,_ .........
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  14- Delails to questions 9 -13- (Use remarks section if additional space is needed.)
              Person            Question Date of Event                                                                                                          Details




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                                                                       PART 1A NON-MEDICAL DECLARATIONS

 1. (a) Proposed Insured 1: Height                             • I'"                Weight-==...-                                              Loss in past year? _ _ _ _ _ lbs.

     (b} Proposed Insured 2: Height _ _ _ __                                        Weight _ _ __                         0 Gain          O Loss in past year? _ _ _ _ _ lbs.
 2. Within the past 10 years has any person proposed for insurance been treated or diagnosed by
    a physician as having: (Circle conditions to which "yes• answer applies and give deta~s in                                                          Prop. Ins 1 Prop Ins. 2 DepBndents
    number 5 below.)                                                                                                                                    Yes No Yes No Yes No
    (a) Disorder of brain or spinal cord. paralysis, menial disorder, epilapsy, stroke, convulsions. chronic
        headaches .. _ .__ . ..                                                              . _• . . . .. ..                                                        • • •D D
                                                                                                                                                                            D
    (b)                 ilis, emphysema, tuberculosis or other disorder ol the lungs or respiratory system                                                           D •
    (cl High lllood pressure heart attack, heart murmur, chest pain or other disorder of \he heart or
                                                                                                                                                                     D D • 0
      (d) Any diso!der oft esophag , stomach, Intestines, fiver or pancreas . . .. . .. .. ..                                                                        D •  D •
      (e)~9r blood int                 , chronic inflammation or other disorder of the kidneys .............. .                                                      D • • •
      (I) Cane r, tumor or disorder of the prostate or reproductive organ           . . . . . •. .. .      .. ...                                                    D D • D
      (g) Arthritis, osteoporosis or other disorder of the muscles, skin bones eluding Joints or spine ...
      (h) Diabetes, recurrent infections, enlarged lymph glands, anem ,            ss fatigue or other disorders
                                                                                                                                                                         •
                                                                                                                                                                         D        D D
          of the glandular or blood systems. • . .. .. .. .. .. . . . .           .. ... . . .. . . ...
      (i) State the specific date of last medical nsultation (M l be answered if Part 1Acompleted) ...
                                                                                                                                                                     • •
                                                                                                                                                                     _J_J_
                                                                                                                                                                                  D
                                                                                                                                                                                  _j_J_
                                                                                                                                                                                         •
                                                                                                                                                                     Ma. Oay Yr   t.la. Ooy Yr
      01 Name of Personal Physician -!!b~r•!..l.!!.!:Mr~:u..iLJ."81i.1!:!&J:,,___ _ _ _ _ _ __
          Address of Personal Physlclan                                                    ~ bG 2.o D
 3. Has any person propo$ed for insurance been diagnosed by a member of the medical                                                                      Prop. lns. 1 Prop Ins 2 Dependents
    profession as having Acquired Immune Deficiency Syndrome (AIDS) or "AIDS" related complex                                                                        Yes No Yes No
    (ARC)? ..............................................................-...........................................,. •._ ...................... .                     • • • •
 4. Has any person proposed for insurance: (Circle conditions to Which "yes" answer applies and
                                                                                                                                                        Prop. Ins. 1 Prop. Ins 2 Dependents
    give details in number 6 below.)                                                                                                                     Yes No      Yes No       Yes No
    (a) Other than above. had examination, 1reatment or consultation with a physician during the past
        5years?...                                          . .................................. .                                                                       D D • •
    (b) Been on, or advised to be on any medication or prescribed diel? ..... .                                                                                          • • • 0
    (c) Sought or been advised to seek advlca or treatment, or been arrested for the use of drugs or
        alcohol? .......... .... .... ..... . .. ..... .•. ..... .... ... . . ...... . . ... .. ........................... .                                            D • D D
    (d) Ever used narcotics, sedatives, depressants, stimulants or hallucinogans, other than under a
        doctor's prescription and direction?.                              .. . .. . .. •    ,.                                                                          D D D •
    (e) Ever used marijuana, cocaine, or any illegal drug or been arrested for lhe possession ol drugs? ..                                                               • D D •
    {f) Ever been or is currently a member of any alcohol or drug rehabilitation program? .. _ _. . •. .                                                                 D D • •
    (g) Ever attempted suicide?.. . . .• ..                           . • ... . ... . • . .... _ • . ......                                                           D      0    •      D
    (h) Had a parent brother, or sister who had and/or died from cancer. diabetes, stroke, heart or kidney
        disease, or who committed suicide? (Please show age of onset and/or age death occurred ) . ....                                                                  D   • •         D

                                                         aleo
       Person's Name                                  Dia nosls               Dia nosis • Medication Prescribed
                                                        A&&
       O'\o',h,c('"                     Lt~               lb              l-lw4 A-Hot.k..
                                        2c.                .
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                                                                                                                                         Dr Pc.a.rs•",           fttJ>
                                                                                                                                         JYky11 f/ti,/e,
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                                                                       C. Hn(;." f f..c. 111/ VAIi. Ve.. ) . ~t-A'IS-ldr', /If
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                                                                       .t\,c,tlnc. IE (JI'- ti(,,J•c.~ fCV Dr /&Jtlt.y
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                                                                                                   -
I       Home Office Endorsements:



        Remarks:




                                                                  DECLARATIONS
       I (We) represent that all slatements and answers made in all parts of this application are full, complete and true to the best of
       my (our) knowledge and belief. It is understood and agreed that:
       (a) All such statements and answers shall be the basis of any insurance Issued, and my (our) answers are material lo the
           decision as to whether the risk is accepted by Empire General Life Assurance Corporation.
       (b) No agent or medical examiner can make, alter or discharge any contract. accept risks, or waive Empire General's rights or
           requirements
       (c) Acceptance of a policy by the Owner shall constitute ratilicatlon of any changes made by the Company under "Home Office
           Endorsements~ above. In those stales where lt Is required, changes as to the plan, amount, age at issue, classification or
           benefils will be made only with the Owner's written consent.
       (d) No insurance shall take effect unless: (1) a policy is delivered lo the Owner; (2) the full first premium is paid while the
           proposed lnsured(s) is (are) alive; fillr! (3) there has been no change in health and insurability from that described in this
           application" However, if the premium Is paid as set forth in the attached Conditional Receipt Agreement and the Conditional
           Receipt Agreement is delivered to the Owner, the terms of the Conditional Receipt Agreement shall apply. No agent or
           medical examiner has any authority to waive or to alter these terms and conditions or to bind coverage under any other
           circumstances.
       (e) If applicable, l have reviewed the attached Conditional Receipt Agreement and understand and agree lhal it provides a
           limited amounl ol life insurance for a li.rnllgQ period of time, and !hat such coverage is subject lo the terms and conditions
           set forth in the Conditional Receipt Agreement.
       (f) The agent taklng this applicalion has made no statement or representation different lrom, contrary to or in addition to these
           Declarations and the terms and conditions of the attached Conditional Receipt Agreement
                                     IMPORTANT INFORMATION ABOUT IDENTIFICATION INFORMATION
       To help the government fight the funding of terrorism and money laundering activities, Federal law requires all financial
       Institutions to obtain, verify, and record information of its customers. We may ask for Information or identifying documents
       lhal will allow us lo verify the identity of our customers.
       Any person who knowingly with Intent to defraud any Insurance company or other person, files an application for
       insurance or statement of claim containing any materially false information or conceals for the purpose of misleading,
       information concerning any fact material thereto commits a fraudulent Insurance act, which may be a crime and may
       subject such person to criminal and civil penalties according to state law.



       Sigeed Al     !!hIm   'i!,L
                              ( I a d S le)


        D "Witness lo All Signatures or
        D Signature of Proposed Insured 1 only
                                                                          (X)
       ..Witness to Signature of Proposed Insured 2 only                        Proposed Insured 2 (Sign Name In Full)
                                                                          (X)

                                                                          (X)
       "Wi1ness to Signature ot App ·

       ••signature{s) should be witnessed by competent adult(s)
         who actually see the individuel(s) sign the appiica!ion

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                                                     EMPIRE GENERAL LIFE ASSURANCE CORPORATION
                                                                     P.O. Box 310
                                                              Shawnee Mission, KS 66201
                                                           AIITHORIZATIDN TO OBTAIN AND DISCLOSE INFORMATION
               This authorization to obtain and disclose information complies wilh HIPAA regulations as they relate to Ille Insurance. I (we) authorize
               Empire General Ufa Assurance Corporation (Empire General) and its reinsurers to obtain and use any Information about or relating 10 me
               (Us) that may affect my (our) insurabiUty Empire General and its reinsurers may obtain and use health and medical information, including
               but not limited to information about drug use, alcohol use, nicotine use, physical and mental diseases and illness, and psy~hiatrlc
               disorders. Empire General and its reinsurers may also obtain and use non-health and non-medical information, including but not limited
.,!            to financial information, credit reports, consumer reports, driving record, criminal record, and information about avocations and
               aviation activity. All of this information may be used to evaluate an application for insurance, a claim for insurance benefits, or bot11
:i             Information relating to communicable diseases and other risk factors relating to me or to my spouse and life partner may be used lo
).             evaluate an application for insurance on either me or my spouse and Ille partner. The Empire General sales agent or regional sales office
~              representing me on my (our) application for insurance may obtain the information described in this paragraph directly lrom any of the
ii.,           persons or organizations listed m paragraph 2 In order to expedite the delivery of the information lo Empire General .
            2. I (we) aulhorize the following persons and organizations to release and disclose the Information described in paragraph 1 to Empire
i•             General Ol" Its agents acting on its behall: O) my (our:) docior(s); Oil medical practitioners; ~iO pharmacists and Pharmacy Benefit Managers;
~              (iv) medical and related faclnties, including hospitals, clinics, facd!ties run by 1he Veteran's Admlnislralion, Kaiser Permanente, The
               Cleveland Clinic Foundallon and The Mayo Clinic; M insurers; (vi) reinsurers; /viij Medical lnformalion Bureau, Inc (MIB); (viii) my {our)
               current and previous employers; and Qx) commemial consumer reporting agenc es (CRA). All of these persons and organizations other than

I              MJB may releasi: the Information descnbed above to a CRA acting for Empire General. MIB may not release the information described in
               paragraph l to a CRA.
            3 I (we) authorize Empire General to draw and test my (our) blood, and/or oral fluids, and urine as may be necessary to obtain inlormation to


I              be used lo undeiwrile my {our) application for insurance, These tesls may include, but are not limited to, tesls for cholesterol and related
               blood lipids, diabetes, liver or kidney disOfders, immune disorders (olhar than HIV/AIDS; reference number 5 below), and U1e presence of
               drugs, nicotine, or their metaboliles. This authorization does not include genetic testing. Unless otherwise required by !aw or regulation,
               Empire General may, but is not obligated to, release any ol these test results directly to me or to my spouse and life par1ner

I           4. I (we) aulhorize Empire General to release a11d disclose the information described in paragraphs 1 and 3 to its affiliates, lls reinsurers,
               !)arsons or organizations provld ing services relating lo Insurance underwriting for Empire General, MIB, and as otherwise required by law.
               Empire General may release and dlsclose tlie Information describi:d in paragraphs 1 and 3 to olher Insurers if I (we) have applied or apply
               to the other insurers for insurance. Empire General may release and disclose the information described in paragraphs 1 and 3 to the
               sales agent representing me on my (our) application for Insurance If It Is necessary to provide an explanation or the reasons for Empire
               General's decision to impose special underwriUng requlrem ents. whenever my applicaUon cannot bi: approved as submitted, or in connection
               wilh a claim for benefits
            5. SPECIAL REQUIREMENT FOR HIV/AIOS TESTING. If Empire General intends to test for the presence of antibodies to the Human
               lmmunodeficillflcy Virus (HIV), which is the virus that has been associated with Acquired Immune Deficiency Syndrome (AIDS), Empire
               General may require me (us) to au1horlze that testing separately I (we) hereby authorize Empire General to obtain and use the results of
               any HIV teslB that l (we) separately authorize, and if permitted by law, to disclose Ille results of those tests to its reinsurers and MIB
            6 This auttlorization shall be valid for 24 monlhs tram llle date shown below or, in the event of a claim for benefits, for the duration of such claim
            7  During the evaluation or my (our) Insurance application, I (we) understand that I jwe) have the right to revoke the authoriiations in
               paragraphs 1 through 5 by writing to Empire General at P0. Bax 310, Shawnee Mission, KS 6620111 this authorization is revoked,
               this would result in the lite being closed and no coverage provided.
            8. D I (we) have been given a copy of this authorization form and Empire General's Description of Information Practices
               O I (we) would like lo be interviewed if an investlgallve consumer report will be made.
                    {Please check the box if you wish ta be intetViewed if an investigative consumer report will be made.)
               0 If pertarmed, I (we) would like copies of my {our) blood profile test results
            g 1(we) understand that Information about me {us) may be disclosed under this authorization to persons or organizations that are not
               subject to the Health Insurance Portability and Actounlability Act (HIP M) and that the information would Ulen no longer be protected by
               Hl PAA and any relate cl regulations
               I acknowledge that any agreements I have made to restrict my protected health informaUan do not apply to this au/horizatian and Iinstruct
               any physician, heallh care professional, hOSf!.itEI, clinic, medical facility, or o_rher health care provider to release and disclose my en/ire
               medical rncord wi 111/rnstli             r modifications lo /his autflorization may preclude our ability ta process this application
           1o. I understand I                       n is authorization in order to obtain health care benefits (treatment, payment or enrollment)

               Propose ns               ture
                                                                                    Date of Authorization: 'J           lf           Q S:::
                                                                                    When applicable, print n-am_e...,(sP.'),.,oft,'ml.,,_n...,.o~r(s.,..),...be.,...lo_w_:- - - - - - - -

               Print Name
                            f/uso n l> e.c.L: l~ 40.t.M
               Proposed Insured 2 (Slgnafure)


               Print Name


             Parent or legal Guardian (Signature)
          THIS AUTHORIZATION MUS.I BE SIGNED WID:IOUT MODIFICATION BEFORE THE APPLICATION CAN BE PROCESSED, PLEASE RETIJRN THIS
                                                      AUTHORIZATION WITH THE APPLICATION,
       EG-700 (~/04)                                                                  5
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;!'•
                                                                                  AGENT'S REPORT
        1. Did you personally inteiview Proposed lnsured(s)~d complete    3. Has medical examination been ordered?                                               Yes S°No                               •
l~:•
           application in his andfor her presence?
           If "no", please explain.
                                                                                       •
                                                         9' Yes No .....,~N_am.....,,e,..of--;e,...x_am,;-i..,.ne_r.,.:-~'!""!'"__,,__...,oa,..1...e't":of~e;"JOx~am..,.·..,.·~ - - - 1
                                                                          4. If application is for UL and taken In a Non-NAIC stale, have
I.                                                                           you completed UL Disclosure Form?                                                   Yes D No                              •
'
I
        2. (a) WIii this policy.replace or change existing policy(ies)?                            5. Are you related lo the Proposed lnsured(s)?                                                      •         Yes ~ No
                                                                   D Yes 1)rNo                        If yes, what is your relationship?
           (b.)lf replacement of ex:isting insurance Is involved, have you                       1-6-.:.:.H.:.:ave=.y:.:.ou:.:.::.re.:.:p~.:.e.:se:.:n.:.te:.;d:;lh:.;:e.;.;:P:;,r;;,:;op;.:.o.;;s;;:ed;;:l=ns=u=re;;:d:;:(s=)=o=n=pr=io=r==-1
                complied with all relevant state requirements, including any                          insurance applications to other life insuranc c mpanies?
                'Disclosure and Comparison Statements"?            O Yes D No                                                                                                                                        es O No
                If "no", please explain.                                                        1------------~---'~.;..;;,,......;;;__;,..~
                                                                                                 7. Are you aware of any known lllstory of excessive use of
        Answer questions (c.) and (d.) mzllcif this is a replacement:                                    alcol'iol, use of drugs, D.UJ .'s, medical hisloty or any other
           { ) D"d                         · t dc                       d I                              facts which would assist us In evaluating this risk. fnclude
            c. 1 you use any pre-pnn 8 ompany approve sa es                                              details of P.rior insurance transactions which resulted in
                 materials?                                        D Yes O No                            subs.tandari:I offers, postponements or decline actions?
                 lfyes,llstnameorform#here:_________                                                     If es,pleaselistinse aratenole.                  Yes      No                                   •
           (d.) Did you use any Company approved, electronically generated,                           8. How long have you kn wn Proposed lnsurad(s)?
                individualized sales materials (such as llluslrations or concept
                materials)?                                          Yes    • No       •              9. Purpose For Coverage:
                II yes, you must provide a copy of these materials with the                                D Buy/Sell ']ii:tEslate Planning                                              D Key Person
                application.                                                        0 Income Replacement O Creditor O Other
        I hereby certify that all slalements and answers made in this Agent's Report are ful~ complete and true to the best of my knowledge and
        belief and that I know nothing affecting Ille insurability of the Proposed lnsured(s) whlch is not fully set forth in these papers.
        I have verified the identity of the Owner by picture I. D. Identification type:
        Signed al                    (City and Stale)                        Dale




                                                                            Address
                                                                                       {..SoO   11.cN.




          Brokerage General Agency                                          BGA Number (EG}                       Phone No I Fax No. / E-mail



        SPECIAL REQUESTS/REMARKS:




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            EMPlRE GENERAL
            LIFEASSURA~E CORPORATION
     P.O. BOX 310 • SHAWNEE MISSION, KS 66201

                             CONFIDENTIAL PERSONAL FINANCIAL STATEMENT
              This form should be completed on any applicallcm when the amount applied for or in-force with Empire General
                                     is $500,000 or more; or if it wiJI help expedite this application,
         For a business financial statement, submit the actual and most current financial statement(s) for the business.

                              ASSETS                                                    LIABILITIES
         Cash                              $                              Mortgages - home            $
         Real Estate - home                $                                        -other            $
                     -other                $                              Secured loans               $
         Business Equity                   $                              Personal loans              $
         Business(es) considered                                          Accounts payable            $
         as investment(s)                  $
                                                                          Taxes payable               $
         Stocks and bonds                  $
                                                                          other loans                 $
         Personal                          $                              (give delails)
         Notes Receivable                  $                              Total liabilities           $
         Cash Surrender Value -                                           Net worth                   $
         Life Insurance                    $
         Vested Balances -
         Retirement Accounts               $
         Total Assets                      $
         EARNED INCOME -        {Income, before taxes, including salaries, lees, commissions, bonuses, and wages which are
                                received as a result of active employment)
                                                           Last Year                                Prior Year
         Salary or draw                             $                                         $
         Bonus(es)                                  $                                         $
         Share of profits left in business          $                                         $
         Other earned Income (give details)         $                                         $
                                                    $                                         $
        Total                                       $                                         $
         UNEARNED INCOME -        (Income, before laxes, such as rental, investment or other income that will continue
                                  desplle a period of disability,)
                                                         Last Year                                 Prior Year
        Dividend and interest income              $                                         $
        Net real estate income                    $                                         $
        Income from business(es) considered
         as investment(s}                         $                                         $
        Other investment income (give details)    $                                         $
        Total                                       $                                         $
     There are no suits pending nor judgments against me at this time except: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


     Have you executed a will? _ _ _ _ _ __
     Have you personally guaranteed a debt owed by another party? (If so, please give details on Page 4)
     The above financial disclosures are made for the purpose of establishing insurabilily In connection with my pending
     Insurance Application
     They are furnished as a true and accurate statem


     Date                                  Signature of Pr ose nsured
                                       Please use Page It if additional Information is necessary.
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I
           EMPIRE GENERAL LIFE ASSURANCE CORPORATION P.O. BOX 310 SHAWNEE MISSION, KS 66201

     Name of Proposed Insured (Please Print):                     t,lfl...\.t.C)'\(\ ~v\::.d~
                                                                      AVIATION QUESTIONNAIRE
      1. Purpose of present and future flying:                     3. Type of aircraft (l.e ., glider, jet, single engine, experimental.
           • Pleasure     D Student Instruction D Racing
                                                                   4.
                                                                      ultrallght, etc.):
                                                                      Total  number    of solo hours: /
                                                                                                         ~-✓

           D Commerc:lal  D Char1ers            0 Aerobalic Flight
           • Military     0 Test Flying           Stunt Flying•    5. Total number of hours llo~per year:
           •
           Business       D Cropdusting (0 Ag Plane, 0 Other)      6. Ever had an aviation ~dent or violation?              Yes     No   •         •
      2. Type of license currently held:                           7. Any flights plann/ver inaccessible or remote areas?
           •
           Student                 DATA                                  Yes      No    •       •
         0 Private                 OIFA                            8. lf aviation ~dires an extra premium or exclusion rider, which
         D Commercial                                                 would you efer?             D Extra Premium D Exclusion Rider
                                                                                /
                                                                  SCUBA DIVING au¢10NNAIRE
      1. Do you dive for pleasure?
         Or commercial purposes?
                                          O Yes D No
                                          • Yes D No
                                                                            ~.,,,,,,,
                                                                                D    D       cave or nigh! diving?
                                                                                                                        8, Do you dive alone?
                                                                                                                          •    Yes  •  No
                                                                                            h or D rescue work?            If yes, how often?
      2. Diving History               Last 24 Months                                        ge?                        (a) Are you a certified diver?
                               No. of Dives            Average Time/ G. (a) What are the locations of your
                                                                                                                           • Yes    •  No
                                                                                                                           Level of certification:
                                                                            diving aclivities?
           Less than 50 feet                                          /        Lakes•
                                                                                    •
           50-75 feel                                             /            Rivers
                                                                               Pools•
                                                                                                                           Date of last cer1itica1ion:


           76-100 feel
                                                     /
                                                          /                 D Ocean Beaches
                                                                                    •
                                                                               Deep Sea
                                                                                                                       {b) Are you a member of an
                                                                                                                           organized club? 0 Yes D No
                                                                            D Other (Specify)                              II yes, give details:
           101-130 feet                          I
                                                                                {b) How long have you bean diving?
           131-150 feet                 /
      3. How many dives do y/an lo make in the                              7. Will you use mixed gas equipment?       9., Have you ever been treated for
         next 12 months?                                                       (Nitrox, Trlmix, Heliox, etc)               decompression sickness or
      4. Date of your l a s /                                                   •  Yes      •
                                                                                            No
                                                                                                                           arterial gas embolism?
                                                                               If so, how often?                          • Yes • No

      1.
                        I                                             RACING QUESTIONNAIRE
                                                                                                         4. What type of fuel is used?
            Rr=ehicle:
            Dau mobile           •snowmobile
            0 torcycle           •boat                                                                   5. Racing Class:
      2.    J;;imum  speed attained:
              lne size:
                                                                                                             •amateur
                                                                                                            D professional
     1/     What specific types of competition do you engage in?
            (Examples: Midget, Sports Car, Stock Car, Drag, Sprin~ Cross Country, etc}
                                                                                                        6.   Racing Association: (Examples:
                                                                                                             NASCAR, IMSA, SCCA, etc . )
    All statements and answers to the above questions have been correctly recorded                       They are com plete and true to the best ol my
    knowledge and belief.


    Signed al-------,,,_~..,_-,,--=,,,.,..,..==--------
    Witness ______              (..,~ae,\__s:'---lC_,.1
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;~i                                             Empire General Life Assurance Corporation
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!J'l
,J
                                                                    P.O. Box 310
                                                              Shawnee Mission, KS 66201
,j
:i                                                   Conditional Receipt Agreement
              This agreement provides only a limited amount of insurance, for a limited period of time, and then only if all the
              terms and conditions of this agreement are met. No Agent of the Company can alter or waive any of the
il            provisions of this Agreement No life Insurance is provided under the terms of this document In the event of the
I             death of the Insured by suicide. In the event of suicide, the Company's sole liability will be the return of any
I!            money received.

              Received: D Check in the amount of $---,---,.,..,.,.--==---,-------,----------=--~
              D  Pre-Authorized Funds Wilhdrawal Plan (PAW), D Assignment/Transfer of Ownership for Section
              1035 Exchange (1035) from _ _ _ _.,.,.,,.____________ as conditional paymenl of the first
              premium for an insurance policy on the life of Proposed lnsured(s) _ _ _ _ _ _ _ _ _ _ _ _ __
              An application for life insurance on each perSOn proposed for insurance is being made today to Empire General life
              Assurance Corporation. This conditional payment is received under and is subject to the exact conditions set out below,
              all of which are a part of this Agreement.
             ALL PREMIUM CHECKS MUST BE MADE PAYABLE TO EMPIRE GENERAL LIFE ASSURANCE CORPORATION.
             DO NOT MAKE CHECKS PAYABLE TO THE AGENT OR LEAVE THE PAYEE BLANK. MONEY ORDERS,
             CASHIER CHECKS, OR AGENT CHECKS OR OTHER CASH EQUIVALENTS WILL NOT BE ACCEPTED.
                     NOTE: Premium may not be collected where the face amount applied fOI' on this application plus any in
                     force Empire General policies on this Insured exceeds $1,000,000 or on Proposed Insureds under 15 days
                     of age or over age 80.

             CONDmONS UNDER WHICH INSURANCE MAY BECOME EFFECTIVE PRIORl'O POLICY DELIVERY
             Unless each and every condition below has been fulfilled exacUy, no insurance will become effective prior lo policy delivery
             to the Owner:
                  (A) on lhe Effective Date the Proposed lnsured(s) is (are) insurable exactly as applied for under the Company's printed
                      undeiwriting rules for the plan, amount and premium rate class applied for;
                  {B) that 1he amount paid with the application and shown above is equal to the first lull modal premium for the premium
                      rate class applied for; and
                  (C} the Proposed lnsured(s) has/have completed all examinations and/or tests requested by the Company,

             EFFECTIVE DATE OF COVERAGE
             Insurance issued based on the application will take effect on the latest of:
                  (A} the date of the application;
                  (B) the date requested in the application; or
                  (C) the date ol lhe last of any medical examinations or tests required under the rules and practices of the Company.

             AMOUNT OF COVERAGE - $1,000,000 MAXIMUM
             Toe total amount ol insurance which may become effective prior to delive"I of lhe policy lo the Owner shall not exceed
             $1,000,000. This amount includes other life insurance and accidental death benefits then in force or applied for with this
             Company,

             TERMINATION AND REFUND OF PREMIUM
             There shall be no insurance coverage under this Agreemenl and this Agreement shall be void if:
                (A) premium payment is
                    (1) by check, and it is not honored by the drawee bank upon presentation;
                    (2) by PAW, and the deduction is not honored by the drawee bank; or
                    (3) by 1035 and the cash surrender value received from Iha assigned policy(s) is not equal to the first full modal
                         premium for the premium rate class applied for.
                (8) if the application to which this Agreement was attached is not approved as applied for by the Company within ninety
                     days from its dale, the Company's only liability in such event{s) will be to return any money received.




                                                                                            m
             The Company's only liability in such event(s) wUI be to return any money received



                                                                                      l"t\
             NOTICE TO APPLICANT: You should relain a copy ol lhis Agreement Toe Original will be retained by Empire General.

             Date:___________                                      Agent:         A
             Date: n  , ~ • 2005"
                   L· UT                                           Applicant/Owner.~             I / Efuanf            ~,
                                                                                                     ~~--e_le C, Harr.:::.

                                                     ORIGINAL· HOME OFFICE         COPY •APPLICANT                    "•·~ ··~   S Offick,
                                                                                       •.,u ;\Min:tn TrW\ 6:(vcf0-"~1, i N ~
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                           EMPIRE GENERAL LIFE ASSURANCE CORPORATION
                          NOTICE ANO CONSENT FOR AIDS VIRUS (HIV) TESTING
Acquired lrnmunodeficlency Syndrome (AIDS) Is a lile-threatening disorder of ll'le immune syslem, caused by a virus, HIV
Tha virus is transmitted by sexual contact with an infected parson, from an intectad mother to her newborn infant, or by
exposure ta infected blood (as in needle sharing during IV drug use), Persons at high risk ol canlractin9 AIDS include
males who have had sexual cootact with another man, intravenous drug users, hemophiliacs, and sexual contacts wilh any
of these peuions AIDS does not typically develop unlll a p~rson has been infected with HIV for several years A person
may remain free of e,ymp1oms for years after becoming infected. Infected persons have a 25 percent to 50 percent chance
of developing AIDS over the next 20 years Symptoms which may develop include fever (including night sweats), weight
loss, swollen lymph glands, fatigue, diarrhea and white spots or unusual blemishes in the mouth
1. PURPOSE OF Tl-lE MIV TEST To evaluate your insurability, the Insurer narned above, Empire General Life Assurance
   Corporalion, has requested that you provide a sample of yout blood, urine ot other body lluids for testing and analyals
   to determine the prfisence of human Immunodeficiency virus (HIV) antibodies or antigens This is not a test for AIDS;
   AIDS can only be diagnosed by medical evaluation.
2. PRE-TEST COUNSELING. Many public health organizations have recommended that before taking an AIDS-related
   test, a person seElk counseling to become informed coneernlng the lmplleallons of $1.lCh a tesl.
3, METHOD AND ACCURACY OF THE HIV TEST. The HIV antibody test that is lo be performed is actually a sDries ot
   tests done by a medically accepted procedure Your blood. urine or other body fluids sample will first be subjected to a
   test known as ELISA (onzym1Hinkcd irnrnunosorbenl assay)- If the result of this test is positive, the ELISA test will be
   repeated Hthis repeat ELISA test Is also positive your blood, urine or olher body fluids specimen will then be subjected
   to another, more specific technique called the Weslem blot test, for confirmation. Your test resull is considered positive
   only iilfler positive results are oblained on lwo ELISA tests and a Westem Blot test.
   The HIV antibody test is exlremely accurate. However, in rare irnslances lhe lest m.iy bo positive in persons who aro no\
   Infected wHh the virus (a false positive) This may include persons who have not engaged io high risk behavior. Thrise
   individuals are encouraged lo seek. retesting to help confirm the validity of the positive test Additionally, the test may
   occasionally be negative in pe~ons who are infecled with HIV (a false negative) especially when the Infection ooouaed
   recently; ii takes at least 4• 12 weeks for a posi1ive test result to develop after a person Is Infected.
4. CONFIDENTIALITY OF HIV TEST RESULTS All test results will be treated confidentially They will be reported by tho
   laboratory to the Insurer.. When necessary for business reasons in connection with insurance you have or have applied
   for with the Insurer, the lnsurar may disclose lesl rosuns lo others such as its affiliates, reiosurers, employees, or
   contractors. If 1he Insurer Is a member of tile Medical Information Bureau (MIB, Inc.) and ii the teat results for HIV
   antibodies/antigens are other lhan normal. the Insurer will report lo the MIB. Inc. a generic coda which signifies only a
   non-specific laboratory test abnormality If your HIV test is normal, na report will be made about ii to the MIB, Inc. Other
   test results may be reported lo the MIB. Inc In a more specific manner. The organi%alioos described In this paragraph
   may maintain the test results in a file or data bank There will be no olher disclosure of test results or even that the tesls
   have been done except as may be required or permitted by law or as authorized by you,
5. POSITIVE TEST RESULTS, Positive HIV antibody/antigen test results do not mean thal you have AIDS, but that you
   aro at significantly increased risk of developing AIDS or AIDS-related conditions Federal authorities say that persons
   who are HIV antfbody/anligen positive should be considered lnfecled with lhe AIDS virus and capable of infecting
   others,
   Ppslt[ve- HIV antibody or antigen test resul1s or other significant laboratory tesl abnormalities will adversely alfect your
   appllcatlon for insurance. This means that your application may be declined, that an Increased premium may be
   charged, or that other policy changes may be necessary.
6. NOTIFICATION OF HIV TEST RESULTS, If the lQsl results are negative, no routine notification wlll be sent 10 you.
   Positive or Indeterminate lest results will be provided to the private physician you lndi0a1e below:

   Physician's Name                                                 Physician'& Address
   Jn absence 01 a designated physician, positive or lodeterrnlnate tesl resulls will be comrnunicaled in accordance with
   lhe rules of your stale Some states wlll require notification ol positive or Indeterminate test tesulls 10 the local heallh
   department In addillon to or in lieu of notification to your private physician
CONSENT:
I have read and I understand this Notice and Consent for HIV (AIDS)•Related Testing and the accompanying Informational
pamphlet mn11Ued HIV & AIDS Get The Faots I voluntarily consent to testing and disclosure as described above, I under-
stand that I have the right to withdraw this consent prior to being 1ei.ted and that J ma)' requee,l arid receive a copy of this
farm. photocopy of this form will be as valid as the original.        ~


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                                                                                   •
                         EMPIRE GENERAL LIFE ASSURANCE CORPORATION
                                          P.O. BeiJC 310
                                         Sh•wnH Mission, KS &6201
                                                1-800-688-3518

                                    NOTICE REGARDING REPLACEMENT

                         REPLACING YOUR LIFE INSURANCE POLICY OR ANNUITY?

              Are you thinking about buying a new llfe lnisurance policy or annuity and disconllnuing or
      changing an existing one? Ir you are, your decision could be a good one - or a mistake. You Will not
      know for sure unless you make a careful c:omparlson ol your exis.Ung benefits and the proposed
      benefits.
              Make sure you understand the racls. You should ask the company or agont that sold you your
      e:dsling policy to give you lnlormatlon about It.
              Hear both sides before you decide This way you can be sure you are making a decision that
      Is in your best interest
              We are required by law to nollfy yourexisting company that you may be replacing your policy
              You are urged not to take action to lermlnate, assign Qr alter your existing policy unm your
      new policy has been Issued and you have examined ii and lound It acceptable.


                                                q.~                                  \_
                                                Dale                Agent's




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                                        POLICY INFORMATION SHEET
                                         FOR EXfSTING INSURANCE

      Name of Appllcanl - - - - ~ ~ - - - - - - - - - - - - - ·                    0.0 B.

      Address

      PropQ:ied Insured If other than Applicant - - - - - - - ~ - - - - - - - - - - -
      Application Number or Proposed Insurance _ _ _ _ _ _ _

      The following pollcy(les) may be replaced as a result of this transaction:

      POLICY INFORMATION                                  POLICY INFORMATION

      Insurer                                             ln$urer

      Polley Generic Name - - - - ~ ·                     Policy Generic Name _ _ _ _ _ _ __
      Policy Number _ _ _ _, _ _ _.,_ __
                                                          Policy Number - - - - ~ - - - - ·

      POLICY INFORMATION                                  POLICY INFORMATION

      lm;urer                                             IMure,
      Policy Generic Name - - - - - - ·                   Policy Generic Name _ _ _ _ _ _ __

      Policy Number--~-·                                  Policy Number _ _ _ _ _ _ _ _ _ __

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                                       Original - Insurance Company's
                                         Copy • PropcHd lnsured's
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                                             EMPIRE GENERAL LIFE ASSURANCE CORPORATION
                                                             P.O. Box 310
                                                      Shawnee Mission, KS 66201
                                                  AIJTilDRIZATIDN TD OBTAIN ANO DISCLOSE IHfDRMATIOH
        Thls autllorlzatlon to obtain and dlsclosu lnformalion complies with HIPM ragulaUons as they relate I• life insuranc:e. I (we) authorlw
        Empire General Life A:.suranc~ Corporation (Empire 6Hne1al) ana its rcinsurcrl.l to olltaln and use any lnlonnaUon about or relating I• me
        (us) that mav affect my (ou~ lnsurablllty. Empire General and its reinsurers may oMaln and use health and medical information, lnr.!uding
        but rt• ! limited to Information abotit drug use, alcohol use, nicotine use, physical and menial disease,; am:J Illness, and psy~hiatric
        dlsoroers Em~lrn General an~ i15 reinsurers may also otHaln and use non-health and non-medical lnlormalion, i11cluding out not limited
        10 financial lnforma1i• n, cr@dit reports. consumer reports, driving rncard, criminal n11.ard, and informalion about avocations and
        avlalion .ictivily. All af !his inlormB!ion rney be used lo cvalu~tc an 11pplicalion lar insurance, a claim ror insurance be[le!i\s, or both
        Information relating to communicable diseases and o!her risk fai:1ors relating to me or 10 my spouse and life partner may be usod to
        evaluate an application for Insurance on eitlu:r me army spou6e and me partner lhe Empire General sales agent or regional sales office
        representlno me on my (our) appllcati • n ror Insurance may obtain the information described in !his paragraph dlmcUy from any of the
        porsons or organii:3tion~ listed In paraoraph 2 In order to oxpijdi!e lhe delivery or the lnlormatlori lo Empire Gener.ii
 2      I (we) authoti:i:a Uie rollowlng persons ;ind organizations to release am! disclose tho loformatl• n dcscrltied i11 paragrapl1 1 to empire
        General _or lls agenls acUng ~n lbi behalf: (i} my {our) doc;t9r(s): 01) medical pracliti• ners; ~ii) pharmacists and P~armacy B~n~fit MnnagerS;
        r11) medical and relatetl 1acU1tius, Including hosp1lals, climes, lac1l1t1es run by the Veteran's Administration, Kaiser Perrneriente, The
        treveland Clinic Foundation aod The Mayo Clinic; (v) Insurers; (vi) rillo~urnrs; (vii) Medical Information Bureau, Im; (MIB): (Viti) my (our)
        curreril aod previous employers: and (ix) commercial consumer reporting agencies (CRA). All of tl1ese persons and organizations oilier lhan
        MIB may release the information descnl.Jad abova to a CAA acting for Empire General MIB may 11ul release lh~ information described in
        paragraph t 10 a CRA
 3     I (we) authorlte Emplra General to draw and rest my (our) blomJ, a,11Jlor oral ll1tlds, and urine as may be necessa[)' lo obl~in in!ormation to
        bt1 used to underwrite my (our) application for insurance Tliose tesls may include, but are not limlled la, tests for chol~slarol and related
        olood lipids, diabelcs, liver or kidtJay disoruers, immune disorders (other than HIV/AIDS; reference number 5 below)1 and the presence ol
        drug 5, nicotine, or their metabolites. This authorization docs not Include genetic testing. Unless otherwls~ requirea lly law Dr regulation,
        Empire Ge110ral may, bul Is not ollligated to, refeage any of these lest results directly to me or lo my spouse and Hie partner
4       I (we) aumorizo Empire !lacwral lo release and disclose the lnforma1ion closcribed in paragraphs 1 and 3 to ils affilia1as, Us relnsurem,
        persons or organizations providing services ralaling to lnsuril11Cll underwriting for Empire General, MJB, and as ctherwiso required by law
        Ernpine General may rnl~ase am! llisclose Ille Information dcscrllled in paragraphs 1 an • J to other Insurers if 1{we) have applied cr aµp!y
       to t11e olher Insurer, for Insurance. Empire General may release and !l1sclose tho rntormatlon !Jescrlbed In par;'lgraphs 1 ond 3 lo the
       sales agent representing me on my (our) application for Insurance lf ii Is neces.sary lo provide an exphmation of tll.e rea3ons for Empire
        General's decision lo impos11 special underwriting requiremenls, whenever my ap[)licalion cannot Ile approved as submitted, or ln connoctlon
       with a cla!m for benefits
5      SPECIAL FIEQUIREMENT FOil ltlV/AIDS TESTING. II Empire General i1'1ends lo lest for !he J)rescnce of anlibodir,,o; lo the Human
       Immunodeficiency Vlros {HIV}, whicfl iS the virus that has been associated with Acqulred Immune Deficiency syndrome (AIDS), Empire
        General may require me (us) tc aumorl2a !tlal lasting separately I (we) hereby aulllorize Empire General to obtain and use lhe results of
       any HIV tests- !hat I (we) separately aulllori,e, and if pcnnltted by law, lo !lisclose the results of those t~s!J; 1o its rcinsurm ;md MIB
6      This authorimlion shall be valid for 24 monms from !he dale shown below or, In th~ event of a clalrn for llenefil.5, for Ille duration of such clalm
7      During the evaluation of my {our} lnsuranco appllcallon, I (v10) undersland thal I (we} have the rigl1t !(> rnvokc U1e ,1u1.lwri~allons in
       paragraphs 1 through 5 lly wrltfng to Empire General at PD. Box 31 o, Shawneo MfsGlon, KS 66201 If lhis authorimlion Is revoked,
       t!Jis would result in Ille me llelng closed and no coverage provld~d
B      !J I [we) have been given a copy of ltiis authorization form and Empire General's DescrlµUon of lnformallon Prac1ices
       •     I [we:) would like to be interviewed if an inl'esligative consumer reporl will be m;id~
             (Please c/rct;;k the /Jax if you wish to be interviewed If a11 invesr/garlve cons11mer report will be made J
       a If parformed, I (wel would like copies of my (our) blood profile test resulls.
9      I 1we} understand !hat Information about me (us) may be disclosed under lhis authorization to persons or organlzatiar1s that are not
       subjecl Ill 1he Health Insurance Portalllllly and Accountability Act (HIPAA) and that 1he Information would then no longer be protecle0 oy
       HIPAA and any related regulations.
       f acknowledge that any Bgreemen/3 t ll1Jve made to restrl{;r my protoctoa health infom!alion do not sr,pty to tllts sul11orlza/Jon anti I Instruct
       any plrysician         //fl Cilf8 professlo£tat, hasf!_iral, cllnir;, medical faciti/y, or olher hea/1/1 cam provider l!J releasq and dJsclosB my entire
       mcdlr:al r rd //Jo                 'ric:tlan.Any modifications to this a11rtmr/1a11011 may preclud~ our aMity ta process this app/Jcali/J/1
10     I undur and I                       ' sign this authorization in otder to otllal11 heallh cara bBnonts (treatment, pa~meni or enrollm~nt).

                                                                              ante ot AuthoritetlDn:           q   h (0.)
                                                                              Wilen applii:abte, print n-am-a=(s~(o"""'orl-'m""'i i1+o..,.~s""'jb~e~lo_w_:- - - - - - -


     Print Name


     Proposed Insured 2 (SlgnaliJre)


     ·prt11! Name

   Parent or [egal ~uarnlan (~lgnahJre)
lHIS AUTHORIZATION M.l.!.fil BE SIGNED '!'lml.Q!JT MODIFICATION BEFORE THE APPLICATION CAN BE PROCESSED. PLEASE RETURN THIS
                                                   AUTHORIZATION WITH THE APPLICATION.
Case
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       Exhibit B
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 EMPIRE GENERAL LIFE ASSURANCE CORPORATION/ PO BOX 310 / SHAWNEE MISSION, KS 66201

                        AMENDMENT TO APPLICATION WITH HEALTH STATEMENT
NAME OF INSURED: NELSON DECKELBAUM                                                     POLICY NUMBER: 0046857 4

The application to EMPIRE GENERAL LIFE ASSURANCE CORPORATION for the policy named above is hereby
amended by the undersigned to conform in every respect to any and all changes indicated below:
Amount of Insurance:                 Plan of Insurance:                             Premium Payable
$2,000,000                           Advanta e                                      $ 117391.09 ANNUALLY
other Changes:
Application Page 1, Question #1 State of Birth shall read: Delaware.
Medical Information Clarification: Page 3 of the Application, Part 1A Non-Medical, Question #2i shall read: September,
2005.




EG-447 10-02                                              OVER
                           Case
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                                                                CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                                DEFENDANTS
 Protective Life Insurance Company                                               Wells Fargo Bank, N.A., as Securities Intermediary



                                                          Jefferson Cou
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________                                                            Minnehaha Cou
                                                                                     COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                         NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                         ATTORNEYS (IF KNOWN)

 Chad E. Kurtz
 1200 19th St, NW 3rd Fl
 Washington, D.C. 20036
 Tel. (202)463-2521

 II. BASIS OF JURISDICTION                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                    PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                            PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government     o     3 Federal Question
         Plaintiff                  (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                       of Business in This State
 o     2 U.S. Government     o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                   (Indicate Citizenship of
                                                                                                                       of Business in Another State
                                     Parties in item III)            Citizen or Subject of a
                                                                     Foreign Country
                                                                                                  o3 o3                Foreign Nation                         o6 o6
                                              IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust         o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                    Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                        Injunction
                                 310 Airplane                                   151 Medicare Act
                                 315 Airplane Product Liability                                                                    Any nature of suit from any category
                                 320 Assault, Libel & Slander              Social Security
                                                                                                                                   may be selected for this category of
                                                                                861 HIA (1395ff)
                                 330 Federal Employers Liability                                                                   case assignment.
                                                                                862 Black Lung (923)
                                 340 Marine
                                                                                863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                 345 Marine Product Liability
                                                                                864 SSID Title XVI
                                 350 Motor Vehicle
                                                                                865 RSI (405(g))
                                 355 Motor Vehicle Product Liability
                                                                           Other Statutes
                                 360 Other Personal Injury
                                                                                891 Agricultural Acts
                                 362 Medical Malpractice
                                                                                893 Environmental Matters
                                 365 Product Liability
                                                                                890 Other Statutory Actions (If
                                 367 Health Care/Pharmaceutical
                                                                                    Administrative Agency is
                                     Personal Injury Product Liability
                                                                                    Involved)
                                 368 Asbestos Product Liability


 o     E. General Civil (Other)                                 OR              o     F. Pro Se General Civil
 Real Property                           Bankruptcy                                    Federal Tax Suits                                 462 Naturalization
      210 Land Condemnation                  422 Appeal 27 USC 158                         870 Taxes (US plaintiff or                        Application
      220 Foreclosure                        423 Withdrawal 28 USC 157                          defendant)                               465 Other Immigration
      230 Rent, Lease & Ejectment                                                          871 IRS-Third Party 26 USC                        Actions
      240 Torts to Land                  Prisoner Petitions                                     7609                                     470 Racketeer Influenced
      245 Tort Product Liability              535 Death Penalty
                                                                                                                                             & Corrupt Organization
                                              540 Mandamus & Other                     Forfeiture/Penalty
      290 All Other Real Property                                                                                                        480 Consumer Credit
                                              550 Civil Rights                              625 Drug Related Seizure of
                                                                                                Property 21 USC 881                      490 Cable/Satellite TV
 Personal Property                            555 Prison Conditions
                                                                                            690 Other                                    850 Securities/Commodities/
      370 Other Fraud                         560 Civil Detainee – Conditions
                                                                                                                                             Exchange
      371 Truth in Lending                        of Confinement
                                                                                       Other Statutes                                    896 Arbitration
      380 Other Personal Property
                                                                                           375 False Claims Act                          899 Administrative Procedure
          Damage                         Property Rights
                                             820 Copyrights                                376 Qui Tam (31 USC                               Act/Review or Appeal of
      385 Property Damage
                                             830 Patent                                        3729(a))                                      Agency Decision
          Product Liability
                                             835 Patent – Abbreviated New                  400 State Reapportionment                     950 Constitutionality of State
                                                 Drug Application                          430 Banks & Banking                               Statutes
                                             840 Trademark                                 450 Commerce/ICC                              890 Other Statutory Actions
                                                                                               Rates/etc.                                    (if not administrative agency
                                                                                           460 Deportation                                   review or Privacy Act)
                           Case
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 o     G. Habeas Corpus/                       o      H. Employment                            o    I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                    o    M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Diversity - 28 U.S.C. 1391                    Declaratory judgment requested for insurance policy

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F.R.C.P. 23
                                                                                     JURY DEMAND:                                YES     ✘         NO

 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES                    NO      ✘                If yes, please complete related case form


             07/31/2020
 DATE: _________________________                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
                        Case
                         Case2:21-cv-03095
                              1:20-cv-02101 Document
                                             Document1-7
                                                      1-4 Filed
                                                           Filed07/12/21
                                                                 07/31/20 Page
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            Protective Life Insurance Company




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                   Wells Fargo Bank, N.A.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

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                                          101 N. Phillips Avenue
                                          Sioux Falls, SD 57104




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                               1:20-cv-02101 Document
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                                                                  07/31/20 Page
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                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
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